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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY


                                                      Civil Action No.
 UTILITY SYSTEMS, INC.,
                                                      Honorable
               Petitioner,

 vs.
                                                         VERIFIED PETITION TO VACTE
 INTERNATIONAL UNION OF OPERATING                           ARBITRATION AWARD
 ENGINEERS LOCAL 825 AFL-CIO,

               Respondent.



       Petitioner, Utility Systems Inc. (“Petitioner” or “Utility”), by way of this Verified

Complaint (“Complaint”) against International Union of Operating Engineers Local 825 AFL-CIO

(“Respondent” or “Local 825”) says:

                                      NATURE OF CASE

   1. This matter concerns Petitioner’s request to vacate the arbitration award issued on August

       14, 2020 (the “Award”), by Arbitrator Gerard G. Restaino (the “Arbitrator”) pursuant to

       the procedures of the New Jersey State Board of Mediation. The Award must be vacated

       because the Arbitrator failed to give Utility a fair and complete hearing when he denied

       their request to reopen the record so that key rebuttal witnesses could be called to testify



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     after the parties failed to settled the matter. The Arbitrator engaged in further misconduct

     when he ignored relevant case law and failed to refer the matter to tripartite arbitration,

     even though Utility was involved in two arbitrations concerning the same facts and

     circumstances that could potentially lead to the issuance of inconsistent decisions

     concerning Utility’s obligations under the collective bargaining agreements at issue in

     addition to issuing inconsistent decisions that would impact the work sharing agreement in

     place between the parties for 35 years.


  2. As a direct result of the Arbitrator’s misconduct, Utility was deprived of its opportunity to

     have a fair and complete hearing, therefore, the Award issued by the Arbitrator must be

     vacated.

                                          PARTIES

  3. Utility is a corporation organized and existing under the laws of the State of New Jersey,

     with its principal place of business at 650 Leesville Ave, Rahway, New Jersey. At all times

     hereinafter set forth, Utility was an “employer in an industry affecting commerce,” as

     defined in §§501 (1) and (3) and 2(2) of the Labor Management Relations Act of 1947 as

     Amended (“LMRA”) (29 U.S.C. §142 [1] and [3] and §152 [2]), and within the meaning

     of Section 301 thereof (29 U.S.C. §185).

  4. Local 825 Operating Engineers, having a principal office at 65 Springfield Avenue,

     Springfield N.J., 07081 is an unincorporated association that acts as a collective bargaining

     agent for Operating Engineers who operate heavy and power-driven equipment who

     perform work within their jurisdiction in matters of wages, hours of work, and other

     working conditions. At all times hereinafter set forth, Local 825 Operating Engineers was

     a “labor organization representing employees in an industry affecting commerce,” as


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     defined in §§501 (1) and (3) and 2(5) of the LMRA (29 U.S.C. §142 [1] and [3] and §152

     [5]), and within the meaning of Section 301 thereof (29 U.S.C. §185).

                              VENUE AND JURISDICTION

  5. This Court possesses jurisdiction over this matter pursuant to § 301 of the Labor

     Management Relations Act (“LMRA”), 29 U.S.C.§ 185, since this action seeks to vacate a

     labor arbitration award pursuant to a Collective Bargaining Agreement.

  6. This Court further possesses jurisdiction over this matter pursuant to the provisions of 28

     U.S. C. § 2201, § 2202, the Declaratory Judgment Act of June 25, 1948 (62 Stat. 964, as

     amended) with powers to render a declaratory judgment and grant such other relief herein

     sought by interpreting the Collective Bargaining Agreement.

                          FACTS COMMON TO ALL COUNTS

  7. As acknowledged in the Award and as set forth in the certification of the

     Secretary/Treasurer of Utility and P&A Construction, Inc. (“P&A”), Ms. Benedita P.

     Barrows, P&A has been a signatory to a collective bargaining agreement with the Local

     15024 Steelworkers since 1972. A true and correct copy of the Award is attached hereto

     has Exhibit A.

  8. A true and correct copy of Ms. Barrow’s Certification setting forth the key facts recited in

     this Complaint is attached hereto as Exhibit B.

  9. In 1981, Local 825 began to harass P&A concerning its use of Local 15024 Steelworkers

     on its projects in New Jersey.

  10. In 1982, P&A began to engage in negotiations with Local 825 to resolve the dispute

     between the parties concerning P&A’s use of Local 15024 within the jurisdiction of Local

     825.



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  11. Utility was created so that P&A could, through Utility, continue negotiating a settlement

     and eventually sign a collective bargaining agreement with Local 825 Operating Engineers

     to resolve the dispute between the parties.

  12. In February of 1983, while negotiations were still ongoing, Local 825’s operators violently

     picketed P&A in East Hanover, NJ.

  13. The 1983 picket was covered by the local press and resulted in P&A taking Local 825 to

     state court in an effort to restrain Local 825’s operators from disrupting its projects and

     harassing its Local 15024 Steelworkers.

  14. The ongoing dispute was covered by the local media. A true and correct copy of a

     newspaper article coving the dispute is attached hereto as Exhibit C.

  15. In 1983, P&A and Local 825 Operating Engineers reached an agreement, without a formal

     collective bargaining agreement having been signed, pursuant to which Local 825

     Operating Engineers would stop harassing P&A over its use of Local 15024 Steelworkers

     in exchange for P&A agreeing to hire a few Local 825 Operating Engineers operators on

     its jobs through Utility to supplement its Local 15024 Steelworkers workforce.

  16. Based on this work-sharing agreement, from 1983 to 1985 several Local 825 operators

     began working for Utility and in return Local 825 Operating Engineers ceased its

     harassment of P&A and its Local 15024 Steelworkers.

  17. In 1985, Utility signed a collective bargaining sewer agreement with Local 825 and since

     that time Utility, P&A, Local 825 and Local 15024 have continued to abide by the work-

     sharing agreement reached between the parties in 1983.




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  18. Local 825 conducted numerous audits of Utility after the collective bargaining agreement

     was signed and Local 825 never considered the work-sharing agreement to be a violation

     of Utility’s collective bargaining agreement.

  19. Utility and P&A have overlapping management and have used the work-sharing agreement

     to jointly work on projects as one company since 1983.

  20. Since on or about September 10, 2018, Local 825 has claimed jurisdiction over all of the

     operating engineer work being performed by P&A/Utility’s employees who are members

     of Local 15024 in violation of the work sharing agreement entered into by the parties in

     1983.

  21. This resulted in Local 825 initiating an arbitration against Utility concerning the work

     sharing agreement.

  22. The arbitration between Local 825 and Utility was held over the course of three days on

     September 24th, November 5th, and November 6th of 2019.

  23. Before the Local 825 Arbitration was concluded, Utility and P&A initiated an arbitration

     with Local 15024 to determine their rights and duties in relation to their collective

     bargaining agreement with Local 15024 in light of the claims raised by Local 825 in their

     Arbitration.

  24. As a result, Utility and P&A are currently facing one arbitration Award that has denied

     the existence of the work sharing agreement and has found Utility to be in violation of

     Local 825’s collective bargaining agreement because Utility and P&A used Local 15024

     steelworkers as operators.

  25. Utility and P&A are also still presently engaged in an arbitration with Local 15024

     Steelworkers to determine how they can continue working with both unions now that Local



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     825’s appointed arbitrator has ruled that it is improper for them to use Local 15024

     Steelworkers as operators.

  26. As such, there is a strong possibility that the decision eventually rendered by Local 15024’s

     arbitrator will be in direct conflict with the Award.

  27. In an effort to prevent Utility and P&A from being subjected to conflicting arbitration

     awards, Utility and P&A filed an action in the District Court of New Jersey requesting that

     the parties be ordered to resolve their ongoing dispute in a tripartite arbitration involving

     both unions.

  28. The District Court denied Utility and P&A’s request in an opinion issued on February 18,

     2020. As a result, Utility and have appealed that decision to the Third Circuit and that

     matter is still ongoing.

  29. Prior to the Arbitration, during the Arbitration, and after the Arbitration, Utility submitted

     numerous requests asking that the Arbitration either be submitted to tripartite arbitration or

     that the Arbitrator withhold his decision until after the Third Circuit had an opportunity to

     render a decision as to whether a tripartite arbitration would be ordered. However, despite

     the two ongoing arbitrations, the Arbitrator denied Utility’s reasonable requests. A copy of

     the Utility’s post arbitration brief requesting that the Arbitrator withhold his decision is

     attached hereto as Exhibit D.

  30. As the initial hearings for the Arbitration came to a close in November of 2019, both parties

     believed that they had reached a tentative settlement agreement in the matter.

  31. However, in the months following the Arbitration it became clear that the parties would

     not be able to complete the settlement.




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  32. As a result, on or about February 6, 2020, counsel for Utility submitted a motion requesting

     that the record be reopened because the matter had not settled. A true and correct copy of

     Utility’s motion requesting to reopen the record is attached hereto as Exhibit E.

  33. Specifically, Utility’s counsel stated that he needed to reopen the record because he only

     decided to rest his case during the initial hearing because a tentative settlement had been

     reached. However, since the settlement failed, Utility needed an opportunity to call as

     rebuttal witnesses Frank Pinho and Dita Barros, owners of the Utility, as well as Business

     Representatives of the Local 825 who visited the jobs of Utility and who administered the

     collective bargaining agreements. The rebuttal testimony was also essential to clarify the

     testimony of two prior witnesses, Joe Scarpone and James Stevens.

  34. However, as acknowledged in the Award, on February 17, 2020, the arbitrator denied

     Utility’s motion to reopen the record.

  35. As a result of the Arbitrator’s conduct, Utility was denied its opportunity to have a fair and

     complete hearing on the merits.

                                    CLAIM FOR RELIEF

  36. The Arbitrator’s failure to grant Utility’s motion to reopen the record to submit testimony

     from key witnesses and his refusal to either order the parties to participate in a tripartite

     arbitration or withhold his decision until after the Third Circuit Court made a decision

     concerning the matter, constitutes a level of misconduct sufficient to vacate the arbitration

     award under the Federal Arbitration Act, 9 U.S.C. § 10(a).

  WHEREFORE, Utility demands judgment as follows:


  a. Ordering that the Award be vacated;




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   b.   Ordering the award of attorney’s fees and costs of suit incurred to Utility; and


   c. Awarding any other relief the Court deems just and equitable under the circumstances.


                                                 TOBIA & LOVELACE ESQS., LLC

                                                 BY: /s/ Othiamba N. Lovelace
                                                     OTHIAMBA N. LOVELACE


DATED: October 13, 2020

                          CERTIFICATION PURSUANT TO R. 4:5-1

        The matter in controversy is related to an ongoing matter currently in the Third Circuit, Case

number 20-1634. This matter is also related to an ongoing arbitration between P&A and the Local

15024 Steelworkers, as mentioned in the above pleadings.

                                                 TOBIA & LOVELACE ESQS., LLC

                                                 BY: /s/ Othiamba N. Lovelace
                                                     OTHIAMBA N. LOVELACE


DATED: October 13, 2020

                       CERTIFICATION PURSUANT TO R. 1:38-7(c)(2)

        I certify that confidential personal identifiers have been redacted from documents now

submitted to the court and will be redacted from all documents submitted in the future in accordance

with Rule 1:38-7(b).

                                                 TOBIA & LOVELACE ESQS., LLC

                                                 BY: /s/ Othiamba N. Lovelace
                                                     OTHIAMBA N. LOVELACE


DATED: October 13, 2020



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                   CERTIFICATION IN LIEU OF OATH OR AFFIDAVIT

       I have read the above Verified Petition and swear that the facts contained therein are true to

the best of my personal knowledge, information and belief. I am aware that if any of the foregoing

statements made by me are willfully false, I am subject to punishment.

                                                TOBIA & LOVELACE ESQS., LLC

                                                BY: /s/ Othiamba N. Lovelace
                                                    OTHIAMBA N. LOVELACE
DATED: October 13, 2020




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